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     Co-Lead Counsel for Plaintiffs
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18                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
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20
      IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
21    LIABILITY LITIGATION
                                                         Case No. 16-md-02741-VC
22
      This document relates to:                          PLAINTIFFS’ RESPONSE TO
23
                                                         MOTION IN LIMINE NO. 12 RE:
24    Hardeman v. Monsanto Co., et al.,                  EVIDENCE OF GLYPHOSATE
      3:16-cv-0525-VC                                    IN BREAST MILK, FOOD, OR
25    Stevick v. Monsanto Co., et al.,                   OTHER UNRELATED
      3:16-cv-02341-VC                                   SOURCES
26
      Gebeyehou v. Monsanto Co., et al.,
27    3:16-cv-5813-VC

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      PLAINTIFFS’ RESPONSE TO MOTION IN LIMINE NO. 12 RE: EVIDENCE OF GLYPHOSATE IN BREAST
                            MILK, FOOD, OR OTHER UNRELATED SOURCES
           Case 3:16-md-02741-VC Document 2622-10 Filed 01/30/19 Page 2 of 3



1           Monsanto argues for the exclusion of evidence or argument of glyphosate in breast milk,
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     food, or other sources.
3
            Plaintiffs agree not to oppose this Motion In Limine for the three Group 1 Plaintiffs
4
     provided that 1) it is clearly understood that Plaintiffs’ agreement not to oppose this Motion in
5

6    Limine in no way precludes other Plaintiffs from admitting such evidence in the future; and 2)

7    Plaintiffs reserve the right to present such evidence if Monsanto should “open the door” to its
8
     presentation.
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10   Dated: 1/30/2019                                    Respectfully submitted,
11

12                                                       /s/ Aimee Wagstaff_
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      PLAINTIFFS’ RESPONSE TO MOTION IN LIMINE NO. 12 RE: EVIDENCE OF GLYPHOSATE IN BREAST
                            MILK, FOOD, OR OTHER UNRELATED SOURCES
           Case 3:16-md-02741-VC Document 2622-10 Filed 01/30/19 Page 3 of 3



1
                                    CERTIFICATE OF SERVICE
2
            I certify that on January 30, 2019, I electronically filed the foregoing document with the
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     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
4
     CM/ECF participants registered to receive service in this MDL.
5

6
                                                         /s/ Aimee Wagstaff______________
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      PLAINTIFFS’ RESPONSE TO MOTION IN LIMINE NO. 12 RE: EVIDENCE OF GLYPHOSATE IN BREAST
                            MILK, FOOD, OR OTHER UNRELATED SOURCES
